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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

TRUSTEES OF THE TEAMSTERS UNION                       )
NO. 142 PENSION FUND,                                 )
            Plaintiffs,                               )
                                                      )
       v.                                             )
                                                      )
ENGINEERED CONSTRUCTORS, INC,                         )
ENGINEERED CONSTRUCTORS, LLC,                         )       CASE NO.:      2:19-cv-447
ENGINEERED COMPANIES, INC., T.J.                      )
FERRANTELLA, Individually and d/b/a                   )
ENGINEERED CONSTRUCTORS, INC.,                        )
ENGINEERED CONSTRUCTORS, LLC and                      )
ENGINEERED COMPANIES, INC.,                           )
          Defendants.                                 )

                                         COMPLAINT
       The Trustees of the Teamsters Union No. 142 Pension Fund, by their undersigned attorney,

hereby complain of Defendants, Engineered Constructors, Inc., Engineered Constructors,

LLC, Engineered Companies, Inc., T.J. Ferrantella, Individually and d/b/a Engineered

Constructors, Inc., Engineered Constructors, LLC, and Engineered Companies, Inc. as

follows:

                                 JURISDICTION AND VENUE

       1.      This complaint is brought under, and this Court has jurisdiction pursuant to, Section

502(a)(3), (e)(1), and (f) of the Employee Retirement Income Security Act of 1974 (hereinafter

“ERISA”), 29 U.S.C. § 1132(a)(3), (e)(1), and (f); 29 U.S.C. § 1381, et. seq. (hereinafter

“MPPAA”).

       2.      This action may properly be brought in the Northern District of Indiana, and venue

is proper in this district and division, pursuant to the provisions of Section 502(e)(2) of ERISA, 29

U.S.C. § 1132(e)(2), and 29 U.S.C. § 1391(b) and (c), in that Plaintiffs’ Trust Fund offices are
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located at 1300 Clark Road, Gary, Indiana, the Trust Fund is administered in the Northern District

of Indiana, and the claims of the Plaintiffs arose therein.

                                               PARTIES

           3.    Plaintiffs are the Trustees of the Teamsters Union No. 142 Pension Fund

(hereinafter the “Fund”), and are “fiduciaries” within the meaning of Sections 3(21)(a), 502(a)(3)

and (g)(2) of ERISA, 29 U.S.C. §§ 102(21)(A), 1132(a)(3) and (g)(2).    The Fund is an “Employee

Pension Benefit Plan” and “Pension Plan” within the meaning of Section 3(2) of ERISA, 29 U.S.C.

§ 1002(2), and is therefore an “Employee Benefit Plan” and “Plan” within the meaning of Section

3(3) of ERISA, 29 U.S.C. § 102(3).     The Fund is also a “multi-employer plan” within the meaning

of Section 3(37) of ERISA, 29 U.S.C. § 1002(37).       The Fund was established and is maintained

by employers engaged in commerce or in an industry affecting commerce, and by an employee

organization representing employees engaged in commerce and in an industry engaged in

commerce, within the meaning of Section 4(a) of ERISA, 29 U.S.C. § 1003(A).

           4.    Engineered Constructors, Inc. was an Indiana corporation with its principal

place of business in Hammond, Indiana.

           5.    Engineered Constructors, Inc. is an “employer” within the meaning of Section

3(5) of ERISA, 29 U.S.C. § 1002(5), and within the meaning of the MPPAA, 29 U.S.C. § 1381,

et. seq.

           6.    T.J. Ferrantella is an owner of Engineered Constructors, Inc.

           7.    Engineered Constructors, LLC, was an Indiana limited liability company.

           8.    T.J. Ferrantella is an owner of Engineered Constructors, LLC.

           9.    Engineered Companies, Inc. was an Indiana corporation.

           10.   T.J. Ferrantella is an owner of Engineered Companies, Inc.



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                                  FACTUAL ALLEGATIONS

       11.     Engineered Constructors, Inc. was a party to a Collective Bargaining Agreement

with Local No. 142 of the International Brotherhood of Teamsters, AFL-CIO (hereinafter “the

Union”).

       12.     Engineered Constructors, Inc. has employed persons represented for collective

bargaining purposes by the Union and has agreed to be bound by the Collective Bargaining

Agreement, and agreements referred to therein.

       13.     The Collective Bargaining Agreement required Engineered Constructors, Inc. to

make periodic contributions on behalf of its employees to the Trust Fund, in amounts established

by the applicable Collective Bargaining Agreement.

       14.     Engineered Constructors, Inc. has continued to report to the Pension Fund each

month that no hours were worked by union members.

       15.     The Fund learned that Engineered Constructors, Inc. was no longer operating in

the jurisdiction of Teamsters Union Local No. 142.

       16.     Engineered Constructors, Inc. effectuated a complete withdrawal from the

Teamsters Union No. 142 Pension Fund during the plan year ending June 30, 2017, because it no

longer has an obligation to pay contributions to Plaintiffs’ Pension Fund.

       17.     The Fund determined that Engineered Constructors, Inc.’s withdrawal liability

assessment is $488,206.00.

       18.     The Fund notified Engineered Constructors, Inc.’s owner and president, T.J.

Ferrantella, in writing on November 12, 2019, of Engineered Constructors, Inc.’s withdrawal

liability obligation, and that its first quarterly payment is due on December 15, 2019.




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       19.     On March 23, 2015, T.J. Ferrantella filed Articles of Organization for a new entity,

Engineered Constructors, LLC.

       20.     Engineered Constructors, LLC was administratively dissolved by the Indiana

Secretary of State on September 5, 2017.

       21.     Engineered Constructors, Inc. was administratively dissolved by the Indiana

Secretary of State on November 5, 2017.

       22.     Engineered Companies, Inc. was voluntarily dissolved by filing Articles of

Dissolution with the Indiana Secretary of State with the effective date of April 2, 2019.

       23.     T.J. Ferrantella continues to own and control Engineered Constructors, Inc.,

Engineered Constructors, LLC and Engineered Companies, Inc. as a sole proprietor.

       24.     The Teamsters Union No. 142 Pension Fund’s Amendment No. 3 to the Pension

Plan provides that “the term ‘default’ with respect to an Employer’s withdrawal liability

obligation, shall include … 2. The Employer’s dissolution”.

                                      CAUSE OF ACTION

       25.     The Pension Fund has determined that Engineered Constructors, Inc.,

Engineered Constructors, LLC, Engineered Companies, Inc. and T.J. Ferrantella are in

default pursuant to ERISA §4219(c)(5)(A).

       26.     Engineered Constructors, Inc., Engineered Constructors, LLC, Engineered

Companies, Inc. and T.J. Ferrantella, at all relevant times, are under common control pursuant

to ERISA, §4001(b)(1).

       27.     Engineered Constructors, Inc., Engineered Constructors, LLC, Engineered

Companies, Inc. and T.J. Ferrantella, at all relevant times, engaged in activities with continuity

and regularity for the primary purpose of income or profit.


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       28.     Engineered Constructors, Inc., Engineered Constructors, LLC, Engineered

Companies, Inc. and T.J. Ferrantella, are jointly and severally liable for the withdrawal liability

assessment owed to Plaintiffs’ Pension Fund.

       29.     The Pension Fund is entitled to collect interim withdrawal liability payments from

Engineered Constructors, Inc., Engineered Constructors, LLC, Engineered Companies, Inc.

and T.J. Ferrantella.

       30.     The Pension Fund is entitled to accelerate the payments owed, and to collect the

full amount of the balance due on the withdrawal liability assessment from Engineered

Constructors, Inc., Engineered Constructors, LLC, Engineered Companies, Inc. and T.J.

Ferrantella.

       31.     Defendants’ actions as described above are an attempt to evade or avoid withdrawal

liability in violation of ERISA, 29 U.S.C. §1392(c).

       WHEREFORE, Plaintiffs request that the Court enter a judgment and order, pursuant to

ERISA, 29 U.S.C. §§ 1132(a)(3) and (g)(2):

       A.      Finding and declaring that Defendants are in violation of ERISA and MPPAA;

       B.      Ordering Defendants to pay to the Fund interim installment payments on

withdrawal liability;

       C.      Ordering Defendants to pay to the Pension Fund the full balance owed on the

withdrawal liability assessment;

       D.      Ordering Defendants to pay to the Pension Fund interest on all delinquent

installment payments;




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       E.      Ordering Defendants to pay to the Pension Fund liquidated damages in the

amount of 20% of the full balance owed on the withdrawal liability assessment;

       F.      Ordering Defendants to pay to the Pension Fund its reasonable attorney fees and

costs; and

       G.      Granting Plaintiffs such other and further relief as the Court may deem just.

                                                     By:     /s/ Teresa A. Massa
                                                             Teresa A. Massa, #16133-45
                                                             1158 W. Lincolnway, Ste. 2
                                                             Valparaiso, Indiana 46385
                                                             (219) 465-1766
                                                             Attorney for Plaintiffs




                                CERTIFICATE OF SERVICE

        This is to certify that a copy of the foregoing Complaint has been served by certified mail
return receipt requested, as required by 502(h) of the Employee Retirement Income Security Act
of 1974, 29 U.S.C. § 1132(h) this 26th day of November, 2019, on the following:

The Office of Division Counsel                       Secretary of Labor
Associate Chief Counsel (TE/GE) CC:TEGE              200 Constitution Ave., N.W.
Room 4300                                            Washington, D.C. 20210
1111 Constitution Ave.                               Attn: Asst. Solicitor for Plan Benefits
Security
Washington, D.C. 20224

                                             /s/ Teresa A. Massa
                                             Teresa A. Massa




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